Case 2:10-cv-08888-CJB-JCW Docu

IN RE: OIL SPILL by

DIRECT FILING SHORT FORM'

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982 Wy . Mts
{Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2 { HEP 3p
;
R

MDL 2179

SECTION

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By submitting this document, | am asserting a claim in

{[Rec. Doc. 879] for private economic losses (“B1 Bund

filed in MBL No. 2179 (10 md 2179}.

al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244} to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al, in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint

into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)

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“Deepwater Horizon”

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Complaint and Petition of Triton Asset Leasing GmbH, ef

le”) filed in MDL No. 2179 (10 md 2179); and/or intervene

81 Pompano Street

INDIVIDUAL CLAIM

Employer Name
NVA

Last Name First Name _ Middle Name/Maiden Suffix
ASKEW CAROLYN J :
“Phone Number “E-Mail Address
£256) 453-2020 Mittyaskew @ aCe ccccuennnnnie ey pes
Address City / State / Zip

Destin, FL 32541
BUSINESS CLAIM

Business Name

Job Title / Description

Type of Business

‘Address

City / State / Zip

Last 4 digits of your Social Security Number
4771

Attomey Name
JEFF FRIEDMAN

Address
3800 CORPORATE WOODS DRIVE

Phone Number
(205) 278-7000

Claim filed with BP?

YES (J NO i]

If yes, BP Claim No.:

Claim Type (Please check all that apply}:

Darnage or destruction to real or personal property
go Earings/Profit Loss
o Personal Injury/Death

Address

- Last 4 digits of your Tax ID Number

Firm Name

FRIEDMAN LEAK

City / State / Zip
BIRMINGHAM, AL 35242

E-Mail Address
jfriedman@friedmanleak.com /mconn@friedmanleak.com

YES fl NO (J

Claim Filed with GCCF?:

If yas, Claimant Identification No.:

Fear of Future Injury and/or Medical Monitoring
Lass of Subsistence use of Natural Resources
Removal and/or clean-up costs

Other:

nooo

* This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.

10-8888. While this Direct Filing Shart Form is to be filed in CA No. 10-8888, by

prior order of the Court, {Rec. Doc, 246, CA, Na. 10-2771 and Rec. Dac. 982 in MDL

2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDE 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shall also serve in liew of the requirement of a Plaintiff te file a Plaintiff Profile Form.

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| Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

Damages to residential property located at 81 Pompano Street, Okaloosa County, Destin,

Okaloosa County, Florida 32541; and, 93 Pompano Street, Okaloosa County, Destin, FL
325471

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

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The filing of this Direct Filing Short Form shai! also serve in lieu of the requirament of a Plaintiff to file a Plaintiff Profile Form.

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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1}

[J 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or aystering.

OO 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

O 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial quide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

CO] 4. Cammercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply campanies, or an employee thereof.

[J 6. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
OO 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

[=] 7 Owner, lessor, or lassee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster bads.

Oo 38. Hotel owner and operator, vacation rental owner and agent, or ali those who earn their fiving from the tourism industry.
CO) 8. Bank, financial institution, or retail business that suffered losses as a result of the spill.
LD 10. Person who utilizes natural resources for subsistence.

OJ 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Retated to Cleanup (Bundle B3}

O 1. Boat captain or crew invalved in the Vessels of Opportunity program.
O2 Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

O 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

Cl] 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
Os. Resident who lives or works in close proximity to coastal waters.

8 = Other:

Both BP and the Gulf Coast Claims Facility ((GCCF") are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting corr identiality (Pre-Trial Order Na. 11), and subject to full copies of same being made available to both

"Wy (or P7 attorgaf if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Claimant or Attorney Signature

JEFF FRIEDMAN

Print Name

YQ -\A-\\

Date

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The filing of this Direct Filing Shart Form shail also serve in fieu of the requirement of a Plaintiff to file a Plaintiff Profife Form.
